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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYVANIA

                                                                  X
JANET MONGE,                                                       :
                                                                   :
                              Plaintiff,                           :
                                                                   :
                - against -                                        :
                                                                   :
UNIVERSITY OF PENNSYLVANIA, et al.                                 :
                                                                   :    No. 22-cv-2942-GEKP
                              Defendants.                          :



                                            ORDER


         AND NOW, this ______ day of August, 2022, it is hereby ORDERED that the Motion

to Allow Alexandra M. Settelmayer to Appear Pro Hac Vice is GRANTED, and Alexandra M.

Settelmayer may appear as counsel for the parties designated in the caption of this matter as NYP

Holdings, Inc., d/b/a New York Post, Teen Vogue, The New Yorker, Slate, Guardian Media

Group, d/b/a the Guardian, The New York Times Company, Daily Mail and General Trust, PLC,

d/b/a Daily Mail, Heather Ann Thompson, Ed Pilkington, Adam Schrader, Elain Ayer, Jackson

O’Bryan, Ezra Lerner and Michael Levenson.




                                                    Honorable Gene E.K. Pratter




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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYVANIA

                                                                 X
JANET MONGE,                                                      :
                                                                  :
                              Plaintiff,                          :
                                                                  :
                - against -                                       :
                                                                  :
UNIVERSITY OF PENNSYLVANIA, AMY GUTMANN,                          :
WENDELL PRITCHETT, KATHLEEN MORRISON,                             :    No. 22-cv-2942-GEKP
DEBORAH THOMAS, and CHRISTOPHER WOODS, in their                   :
individual capacities, PAUL MITCHELL, BILLY PENN, MAYA            :
                                                                  :
KASUTTO, in her individual capacity, THE PHILADELPHIA             :
INQUIRER, PBC, ABDUL ALIY MUHAMMAD, and JENICE                    :
ARMSTRONG, in their individual capacities, THE NEW                :
YORKER, HEATHER ANN THOMPSON, in her individual                   :
capacity, ESPN, INC. d/b/a ANDSCAPE, NICOLE FROIO, and            :
LINN WASHINGTON, in their individual capacities, THE              :
AMERICAN ANTHROPOLOGICAL ASSOCIATION, THE                         :
                                                                  :
SOCIETY OF BLACK ARCHAEOLOGISTS, THE GUARDIAN                     :
MEDIA GROUP d/b/a THE GUARDIAN, ED PILKINGTON, in                 :
his individual capacity, DAILY MAIL AND GENERAL TRUST,            :
PLC d/b/a DAILY MAIL, ADAM SCHRADER, in his individual            :
capacity, SLATE, ELAINE AYERS, in her individual capacity,        :
NYP HOLDINGS, INC. d/b/a NEW YORK POST, JACKSON                   :
O’ BRYAN, in his individual capacity, TEEN VOGUE, EZRA            :
                                                                  :
LERNER, in his individual capacity, HYPERALLERGIC                 :
MEDIA, KINJAL DAVE, and JAKE NUSSBAUM, in their                   :
individual capacities, NORA MCGREEVY, AL DIA NEWS,                :
BRITTANY VALENTINE, in her individual capacity, NEW               :
YORK TIMES, CO., and MICHAEL LEVENSON, in his                     :
individual capacity,                                              :
                                                                  :
                              Defendants.                         :
                                                                 X




                      MOTION TO ALLOW THE APPEARANCE OF
                     ALEXANDRA M. SETTELMAYER PRO HAC VICE

                Pursuant to Local Rule of Civil Procedure 83.5 and the Court’s General Pretrial

and Trial Procedures, the undersigned attorney, Andrew A. Chirls of Fineman Krekstein & Harris,

P.C., respectfully moves the Court for an order granting admission pro hac vice to Alexandra M.

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Settelmayer in the above-captioned action. Ms. Settelmayer seeks to act as additional counsel for

Defendants Advanced Publications, Inc. d/b/a The New Yorker and Teen Vogue, Ezra Lerner,

Heather A. Thompson, Associated Newspapers Limited d/b/a The Daily Mail, Adam Schrader,

ESPN Inc. d/b/a Andscape, Linn Washington, Nicole Froio, Guardian News & Media Limited

d/b/a The Guardian, Ed Pilkington, NYP Holdings, Inc. d/b/a New York Post, Jackson O’Bryan

a/k/a Blake Montgomery, The New York Times Co., Michael Levenson, Slate Group LLC, and

Elaine Ayers. In support of this Motion, the undersigned states the following:

         1.     I entered my appearance in this matter on August 28, 2022.

         2.     Alexandra M. Settelmayer is an Associate with the firm Davis Wright Tremaine

LLP with an office location at 1251 Avenue of the Americas, New York, New York 10020, Tel.

(212) 489-8230, Fax (212) 489-8340, email: alexandrasettelmayer@dwt.com.

         3.     The Declaration of Alexandra M. Settelmayer is attached to this motion as “Exhibit

A.”

         4.     My Sponsor’s Declaration in support of this motion seeking leave for Alexandra

M. Settelmayer to appear pro hac vice is attached to this motion as “Exhibit B.”

         WHEREFORE, the undersigned counsel respectfully requests that this Court enter an order

granting Alexandra M. Settelmayer to appear pro hac vice for purposes of this action only.

Dated: August 5, 2022

                                             Respectfully submitted,
                                             FINEMAN KREKSTEIN & HARRIS, P.C.


                                             /s/ Andrew A. Chirls
                                             Andrew A. Chirls
                                             Ten Penn Center
                                             1801 Market Street, Suite 1140
                                             Philadelphia, PA 19103
                                             Tel: (215) 893-8715
                                             Email: achirls@finemanlawfirm.com
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                          EXHIBIT A




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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYVANIA

                                                                        X
JANET MONGE,                                                            :
                                                                        :
                                 Plaintiff,                             :
                                                                        :
                   - against -                                          :
                                                                        :
UNIVERSITY OF PENNSYLVANIA, AMY GUTMANN,                                :
WENDELL PRITCHETT, KATHLEEN MORRISON,                                   :    No. 22-cv-2942-GEKP
DEBORAH THOMAS, and CHRISTOPHER WOODS, in their                         :
individual capacities, PAUL MITCHELL, BILLY PENN, MAYA                  :
                                                                        :
KASUTTO, in her individual capacity, THE PHILADELPHIA                   :
INQUIRER, PBC, ABDUL ALIY MUHAMMAD, and JENICE                          :
ARMSTRONG, in their individual capacities, THE NEW                      :
YORKER, HEATHER ANN THOMPSON, in her individual                         :
capacity, ESPN, INC. d/b/a ANDSCAPE, NICOLE FROIO, and                  :
LINN WASHINGTON, in their individual capacities, THE                    :
AMERICAN ANTHROPOLOGICAL ASSOCIATION, THE                               :
                                                                        :
SOCIETY OF BLACK ARCHAEOLOGISTS, THE GUARDIAN                           :
MEDIA GROUP d/b/a THE GUARDIAN, ED PILKINGTON, in                       :
his individual capacity, DAILY MAIL AND GENERAL TRUST,                  :
PLC d/b/a DAILY MAIL, ADAM SCHRADER, in his individual                  :
capacity, SLATE, ELAINE AYERS, in her individual capacity,              :
NYP HOLDINGS, INC. d/b/a NEW YORK POST, JACKSON                         :
O’ BRYAN, in his individual capacity, TEEN VOGUE, EZRA                  :
                                                                        :
LERNER, in his individual capacity, HYPERALLERGIC                       :
MEDIA, KINJAL DAVE, and JAKE NUSSBAUM, in their                         :
individual capacities, NORA MCGREEVY, AL DIA NEWS,                      :
BRITTANY VALENTINE, in her individual capacity, NEW                     :
YORK TIMES, CO., and MICHAEL LEVENSON, in his                           :
individual capacity,                                                    :
                                                                        :
                                 Defendants.                            :
                                                                        X


         DECLARATION OF ALEXANDRA M. SETTELMAYER IN SUPPORT OF
                APPLICATION FOR ADMISSION PRO HAC VICE

         Alexandra M. Settelmayer, of full age, hereby deposes and says:

    1.          I have personal knowledge of the matters set forth herein.

    2.          I am an Associate with the law firm Davis Wright Tremaine LLP with an office location



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at 1251 Avenue of the Americas, New York, New York 10020, Tel. (212) 489-8230, Fax (212)

489-8340, email: alexandrasettelmayer@dwt.com.

         3.        I make this Declaration in support of the application seeking leave for me to appear

pro hac vice in the above-captioned action as an attorney for Defendants Advanced Publications,

Inc. d/b/a The New Yorker and Teen Vogue, Ezra Lerner, Heather A. Thompson, Associated

Newspapers Limited d/b/a The Daily Mail, Adam Schrader, ESPN Inc. d/b/a Andscape, Linn

Washington, Nicole Froio, Guardian News & Media Limited d/b/a The Guardian, Ed Pilkington,

NYP Holdings, Inc. d/b/a New York Post, Jackson O’Bryan a/k/a Blake Montgomery, The New

York Times Co., Michael Levenson, Slate Group LLC, and Elaine Ayers.

    4.          I was admitted to practice law in the State of New York in 2018. I was also admitted

to practice in the following federal jurisdictions in the years indicated below:

                         • U.S. District Court, Eastern District of New York (2018);

                         • U.S. District Court, Southern District of New York (2020);

                         • U.S. Court of Appeals, Second Circuit (2018).

    5.          I am a member in good standing in all jurisdictions to which I am admitted.

    6.          I have never been suspended from the practice of law in any jurisdiction or received

any public reprimand by the highest disciplinary authority of any bar in which I have been a

member.

    7.          I have reviewed the most recent edition of the Pennsylvania Rules of Professional

Conduct and the Local Rules of Civil Procedure for the United States District Court for the

Eastern District of Pennsylvania, and I agree to be bound by both sets of Rules for the duration of

the case for which pro hac vice admission is sought.




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         8.     I understand that my pro hac vice will not relieve local counsel, Andrew A. Chirls,

of responsibility for this case in matters before the Court.

           9.   If granted pro hac vice status, I will in good faith continue to advise counsel who

 has moved for the pro hac vice admission, Andrew A. Chirls, of the current status of the above-

 captioned case and of all material developments therein.

         I declare, pursuant to 28 U.S.C § 1746, under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

Executed on August 5, 2022.



                                               /s/ Alexandra M. Settelmayer
                                               Alexandra M. Settelmayer




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                          EXHIBIT B




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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYVANIA

                                                                        X
JANET MONGE,                                                            :
                                                                        :
                                 Plaintiff,                             :
                                                                        :
                   - against -                                          :
                                                                        :
UNIVERSITY OF PENNSYLVANIA, AMY GUTMANN,                                :
WENDELL PRITCHETT, KATHLEEN MORRISON,                                   :    No. 22-cv-2942-GEKP
DEBORAH THOMAS, and CHRISTOPHER WOODS, in their                         :
individual capacities, PAUL MITCHELL, BILLY PENN, MAYA                  :
                                                                        :
KASUTTO, in her individual capacity, THE PHILADELPHIA                   :
INQUIRER, PBC, ABDUL ALIY MUHAMMAD, and JENICE                          :
ARMSTRONG, in their individual capacities, THE NEW                      :
YORKER, HEATHER ANN THOMPSON, in her individual                         :
capacity, ESPN, INC. d/b/a ANDSCAPE, NICOLE FROIO, and                  :
LINN WASHINGTON, in their individual capacities, THE                    :
AMERICAN ANTHROPOLOGICAL ASSOCIATION, THE                               :
                                                                        :
SOCIETY OF BLACK ARCHAEOLOGISTS, THE GUARDIAN                           :
MEDIA GROUP d/b/a THE GUARDIAN, ED PILKINGTON, in                       :
his individual capacity, DAILY MAIL AND GENERAL TRUST,                  :
PLC d/b/a DAILY MAIL, ADAM SCHRADER, in his individual                  :
capacity, SLATE, ELAINE AYERS, in her individual capacity,              :
NYP HOLDINGS, INC. d/b/a NEW YORK POST, JACKSON                         :
O’ BRYAN, in his individual capacity, TEEN VOGUE, EZRA                  :
                                                                        :
LERNER, in his individual capacity, HYPERALLERGIC                       :
MEDIA, KINJAL DAVE, and JAKE NUSSBAUM, in their                         :
individual capacities, NORA MCGREEVY, AL DIA NEWS,                      :
BRITTANY VALENTINE, in her individual capacity, NEW                     :
YORK TIMES, CO., and MICHAEL LEVENSON, in his                           :
individual capacity,                                                    :
                                                                        :
                                 Defendants.                            :
                                                                        X


               SPONSOR’S DECLARATION IN SUPPORT OF MOTION
         FOR ADMISSION PRO HAC VICE OF ALEXANDRA M. SETTELMAYER

         Andrew A. Chirls, of full age, hereby deposes and says:.

    1.          I have personal knowledge of the matters set forth herein.

    2.          I am a member of the law firm Fineman Krekstein & Harri,s P.C., Ten Penn Center,

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1801 Market Street, Suite 1140, Philadelphia, PA 19103, Tel: (215) 893-8715.

    3.          I am admitted to practice in the Commonwealth of Pennsylvania and the U.S. District

Court for the Eastern District of Pennsylvania.

    4.          I am in good standing in all jurisdictions to which I am admitted.

    5.          I make this Affidavit in support of the motion and application to admit Alexandra M.

Settelmayer pro hac vice to appear and participate in this matter as an attorney for Defendants

Advanced Publications, Inc. d/b/a The New Yorker and Teen Vogue, Ezra Lerner, Heather A.

Thompson, Associated Newspapers Limited d/b/a The Daily Mail, Adam Schrader, ESPN Inc.

d/b/a Andscape, Linn Washington, Nicole Froio, Guardian News & Media Limited d/b/a The

Guardian, Ed Pilkington, NYP Holdings, Inc. d/b/a New York Post, Jackson O’Bryan a/k/a Blake

Montgomery, The New York Times Co., Michael Levenson, Slate Group LLC, and Elaine Ayers

pursuant to Local Rule of Civil Procedure 83.5.2(b).

    10.         Alexandra M. Settelmayer is an Associate with the firm Davis Wright Tremaine LLP

with an office location at 1251 Avenue of the Americas, New York, New York 10020, Tel. (212)

489-8230, Fax (212) 489-8340, email: alexandrasettelmayer@dwt.com.

    11.         I certify that I know that the applicant, Alexandra M. Settelmayer, is a member in good

standing of the state and federal court jurisdictions included in Exhibit A – the Affidavit of

Alexandra M. Settelmayer in Support of Application for Admission Pro Hac Vice.

    12.         I understand that the admission pro hac vice of Alexandra M. Settelmayer will not

relieve me of legal duties and responsibility for this case in matters before the Court.




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         I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

         Executed on August 5, 2022



                                              /s/ Andrew A. Chirls
                                              Andrew A. Chirls




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                                  CERTIFICATE OF SERVICE


         I hereby certify that a true and correct copy of the above has been served electronically

on all counsel of record via the Court’s ECF system on August 5, 2022.



                                               /s/ Andrew A. Chirls
                                               Andrew A. Chirls




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